Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 1 of 25 PageID 1917




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 SAMANTHA RING,


                        Plaintiff,                      Case No. 8:19-cv-00772-VCM-JSS

 vs.

 BOCA CIEGA YACHT CLUB, INC.,


                    Defendant.
 ______________________________/

                     PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                        AND MEMORANDUM OF LAW IN SUPPORT

        This is a Title III ADA discrimination case. 12 To prevail, a plaintiff generally has the

 burden of proving (1) that he or she is an individual with a disability; (2) that the defendant

 owns, leases, or operates a place of public accommodation; and (3) that defendant denied him or

 her full and equal enjoyment of goods, services, facilities or privileges offered by the defendant

 (4) on the basis of his or her disability. Cohan v. Rist Props., LLC, No. 2:14-cv-439-FtM-

 38DNF, 2015 WL 224640, at *2 (M.D. Fla. Jan. 15, 2015) (quoting Schiavo ex rel Schindler v.

 Schiavo, 358 F. Supp.2d 1161, 1165 (M.D. Fla. 2005). Plaintiff, through undersigned counsel,

 moves for partial summary judgment under Fed. R. Civ. P. 56 on elements (1) through (4) because

 there is no triable issue of material fact and she is entitled to judgment as a matter of law.

 1
  Title III of the Americans With Disabilities Act, 42 U.S.C. §§ 12181-12189 (“Title III”), which
 addresses “Public Accommodations and Services Operated by Private Entities,” provides that
 “[n]o individual shall be discriminated against on the basis of disability in any place of public
 accommodation.” 42 U.S.C. § 12182(a).
 2
   This case is also a discrimination claim under the Florida Civil Rights Act of 1992, Fla. Stat. §
 760.01, et seq. (“FCRA”). In the Eleventh Circuit both claims are analyzed under the same
 framework. Chanda v. Engelhard/ICC, 234 F.3d 1219, 1221 (11th Cir. 2000)(disability
 discrimination claims under FCRA analyzed under same framework as ADA claims).
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 2 of 25 PageID 1918




                                         INTRODUCTION
        Plaintiff is a person with a disability who requires the assistance of her service animal in

 certain settings. Plaintiff belonged to a social and sailing group, Defendant, Boca Ciega Yacht

 Club (“BCYC”), until BCYC refused to let her service animal in the building it leases for a

 dollar from the City of Gulfport, and then expelled Plaintiff for reporting its discriminatory

 conduct to the City Manager. Defendant claims it is a private club, exempt from the ADA and

 FCRA, and therefore free to discriminate. As to all four (4) factors of Title III discrimination,

 Plaintiff has proven her prima facie case, and the Court should enter summary judgment in her

 favor and find that she has substantially prevailed.

                             I. STATEMENT OF MATERIAL FACTS

 1. Plaintiff Samantha Ring teaches middle school Spanish at Bay Point Middle School in St.
    Petersburg, Florida. Exhibit 2, Affidavit of Samantha Ring at ¶2.
 2. Plaintiff suffers from and has a history of suffering from life-threatening allergies. Id. at ¶¶3,
    6; Exhibit 3, Affidavit of J.D. Wohlers.
 3. Plaintiff experiences anaphylaxis if exposed to an allergen trigger which has and could
    escalate to anaphylactic shock. Id. Her tongue swells and airways constrict causing her to
    have trouble breathing. Ex. 2, Ring Aff. at ¶¶ 3, 6.
 4. Plaintiff carries a Medical Pack (“medi-pack”) with her at all time which includes an
    epinephrine autoinjector commonly called an “EpiPen,” an inhaler, her anxiety medication, a
    backup phone, and an extra pair of prescription eyeglasses. Id. at ¶5.
 5. Plaintiff has had to use her EpiPen twice in the last two and a half months. Id. at ¶6, 7.
 6. Plaintiff can physically demonstrate that her dog is a service dog which has been specially
    trained to seek, locate, and retrieve her Epipen, and get help if her Epipen fails or has been
    misplaced. Id. at ¶12.
 7. Plaintiff is a sailor and joined BCYC in 2007. Id. at ¶16.
 8. Plaintiff has taken dog training courses, read books, and watched educational and
    instructional videos on dog training. Id. at ¶10. She has a Master’s in Montessori teaching
    and employs the same behavioral modification techniques in her dog training. Id.

                                                                                           2|Page
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 3 of 25 PageID 1919




 9. Plaintiff obtained her service dog “Piper” in 2015 but did not seek permission to be
    accompanied by her Piper in the BCYC clubhouse until Piper had learned sufficient
    obedience skills for public access and had learned disability-related tasks. Id. at ¶¶8, 12, 18.
 10. Without professional training Piper earned a “Canine Good Citizen” Certificate, given to
    dogs that demonstrate mastery of ten different skills related to obedience and proper
    socialization. Id. at ¶11. Piper passed the test the first time she took it. Id.
 11. Plaintiff and her service dog are currently working via video conference with an experienced,
    professional service dog trainer, Dawn Scheu, to train Piper to detect sunflower seeds and
    alert Plaintiff to their presence. Id. at ¶14; Exhibit 4, Affidavit of Trainer Scheu at ¶7.
 12. Trainer Scheu has more than 20 years experience in training dogs for scent detection. Ex. 4,
    Trainer Aff. at ¶3. Trainer Scheu helped write the standards for testing scent detection dogs
    and evaluates dogs for their fitness for public access and their ability to detect scents. Id. at
    ¶5, 14.
 13. Trainer Scheu has confirmed that Piper was already a service dog when she began working
    with Plaintiff. Id. at ¶8. Piper had already learned to perform specific and discrete disability-
    related tasks including retrieving Plaintiff’s emergency medical pack containing her EpiPen
    upon command, finding the medical pack if lost or misplaced, and seeking help if Plaintiff is
    having an anaphylactic reaction and needs assistance. Id. at ¶8.
 14. Trainer Scheu attests that Piper is doing well in her training to detect sunflower seeds and
    will be able to take and pass all four of the tests required for scent detection service dogs
    within a few months. Id. at ¶14.
 15. Plaintiff does not bring her service dog to work because of concerns regarding students with
    dog allergies, dog phobias, and that a dog’s presence would be distracting to middle school
    students. Ex. 2, Ring Aff. at ¶15.
 16. The risk of a bee sting at school is low and Plaintiff is almost never alone in the school
    building unlike the BCYC clubhouse which is often open to the elements and empty of other
    people. Id.
 17. Trainer Scheu attested that Plaintiff does not need to bring her service animal to work for the
    animal to be a service animal, and that choosing not to bring her service animal does not



                                                                                            3|Page
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 4 of 25 PageID 1920




       adversely impact the service animal’s effectiveness at performing disability-related tasks for
       Plaintiff in places of public accommodation. Id. at ¶12.
 18. When confident Piper was sufficiently trained, Plaintiff asked BCYC leadership about having
       Piper with her in the BCYC clubhouse. Ex. 2, Ring Aff. at ¶18.
 19. Plaintiff provided information to BCYC’s then-Commodore 3 Larry Brown regarding Piper’s
       training and verification of her need for Piper based upon allergies and anxiety before
       bringing Piper to BCYC’s clubhouse. Id. at ¶18; Exhibit 12, Index and Exhibits to Southard
       Deposition at 3:Ex. 1.
 20. Defendant denied Plaintiff’s service dog entrance into its facilities asserting that BCYC is a
       private club, Ex. 2, Ring Aff. at ¶18, and then expelled Plaintiff for seeking assistance in
       addressing BCYC’s discriminatory conduct from the city of Gulfport. Id. at 6, 13-16; Exhibit
       5, BCYC 01.2019 Minutes at 12; Ex. 12, Index & Exhibits to Southern Depo. at 4:Ex.2,
       9:Ex.7, 12:Ex.10, 14:Ex.12, 15:Ex.13, 19:Ex.18, 21:Ex.20, 22:Ex.21.
 21. Defendant denied Plaintiff, on the basis of her disability, access to not only the clubhouse
       area, but to all the goods, services, facilities, and privileges Defendant is able to offer
       because of its Lease with the City of Gulfport. Ex. 2, Ring Aff. at 5; Exhibit 6, Lease
       Agreement.
 22. Defendant BCYC was originally called “The Sunshine City Boat Club” [“Sunshine City”]
       and was founded in the 1940s by “a bunch of characters” for the purpose of deceiving Tampa
       Bay government to “wangle” a dock for drinking activities. Exhibit 7, Facebook > BCYC >
       Profile > “About” > “For the Joy of the Salty Sea and the Wind in Our Sails,”
       https://www.facebook.com/pg/SialBCYC/about/?ref=page_internal          03/29/2019    print-out;
       Exhibit 8, Certificate for Reincorporation; Exhibit 9, Articles of Inc., Article 1. BCYC’s
       Articles of Incorporation were authorized at a December 20, 1965, meeting. Ex. 8, Cert. Re-
       inc. In 1965, Sunshine City relocated to the City of Gulfport. Ex. 7, Facebook Profile; Id.
 23. On February 10, 1966, a Certificate for Reincorporation and Articles of Incorporation of
       BCYC were filed with the Florida Department of State, changing Sunshine City’s name to
       BCYC. Ex. 8, Cert. Re-inc.; Ex. 9, Art. of Inc. at Article 1. BCYC’s Articles of Incorporation
       were authorized at a December 20, 1965, meeting. Ex. 8, Cert. Re-inc.



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     See note 5, infra.
                                                                                            4|Page
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 5 of 25 PageID 1921




 24. BCYC’s purpose was to (1) promote safe boating activities in Pinellas County and adjacent
       areas; and (2) promote instruction and education in safe boating and nautical activities. Ex. 9,
       Art. of Inc. at Article 2. Any white person of good character over eighteen, was eligible. Id.
       at Article 3.
 25. BCYC’s Mission in 2019 was (1) and (2), supra, and: “[3] to foster fellowship and
       camaraderie among the members and [4] to be an integral part of the Community of
       Gulfport.” Exhibit 10,        BCYC > Facebook > BCYC > Profile > “About”> Mission
       https://www.facebook.com/pg/SialBCYC/about/?ref=page_internal 03/29/2019 print-out.
 26. BCYC is “known for throwing a party or two, or 10” and can be described as “a very social,
       rum-loving, alcohol-loving group of people.” Exhibit 11, Commodore 4 Nicholas Joseph
       Southard Deposition at 98:8-16.
 27. On December 21, 2007, the City of Gulfport agreed to lease BCYC City property for thirteen
       (13) years. Ex. 6, Lease at 1:1. “Property” encompassed two waterfront parcels of land and
       dock/marina area, denoted as “Leased Premises.” Id. at 1:1.; at 8-10: “Exhibit A,” “Exhibit
       B,” and Diagram to Lease. The City also agreed to lease the clubhouse building and parking
       area on the Leased Premises to BCYC for one dollar per year. Ex. 6, Lease at 1:3.
 28. The waterfront access areas of the Leased Premises cannot be secured by a gate and are
       accessible at all times to everyone, including the general public. Exhibit 13, Aerial Google
       Maps Views; Exhibit 14, Aerial Map View Front Gate Open. BCYC’s non-waterfont front
       gate/club entrance is left open. Ex. 14, Aerial Map Front Gate Open.
 29. In 2018, applicants for membership filled out a written application 5 available online to join
       BCYC. Ex. 11, Southard Depo. at 57:10-59:4. Other than being over 21, there were no
       particular criterion or standards an applicant had to meet. Id. at 58:11-21. An applicant
       wasn’t required to know how to read, how to write, own a boat, how to sail or operate a boat,
       nautical terms, or what a “Commodore” is. Id. at 58:22-60:3. Applicants didn’t need a
       sponsor or a reference. Id. at 70:17-22. In 2019 the application process was the same. Id. at
       70:23-71:8.
 30. The Application requests name, address, date of birth, phone numbers, email, gender, spousal
       information, employer, emergency medical contact designee, and boat information (i.e., if a

 4
     A “Commodore” could be described as the equivalent of a “President.” Id. at 12:25-13:4.
 5
     An applicant could have someone else fill out an application for him/her. Id. at 58:22-59:4.
                                                                                                    5|Page
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 6 of 25 PageID 1922




    boat is owned), and whether an applicant has been convicted of or pled nolo to a felony.
    Exhibit 15, BCYC Membership Application at 2-4.
 31. In 2018 and before, an applicant paid $125.00 when applying; $35.00 of which was for a
    “background check” and the remainder for a membership “down payment.” Ex. 11, Southard
    Depo. at 64:18-69:21. Applicants in the same household get a two-for-one deal and pay one
    initiation fee. Id. at 81:3-82:6.
 32. The Application has been the same or similar since at least 2004. Id. at 58:2-10. BCYC’s
    Commodore doesn’t know if a criminal or background check is actually even done. Id. at
    9:12-10:3.
 33. After an application and payment are submitted, Gerri Angel decides if an applicant is
    “okay.” Ex. 11, Southard Depo. at 60:4-62:6. If she does, an investigation check is done. Id.
    at 61:23-62:6. Once its back, the “[Membership] Committee” calls the applicant to come to
    BCYC’s clubhouse. Id. at 62:7-63-8. That “Committee” is just Mrs. Angel. Id. at 62:7-63:5.
    Mrs. Angel is an 80-year old BCYC member and has made the calls for fifteen (15) years. Id.
    at 60:22-61:11. It’s up to her what applicants are asked. Id. at 61:19-22. She asks questions
    based upon her experience and general questions about “why” an applicant wants to join
    BCYC. Id. at 60:4-61:18.
 34. Once every month, except December, applicants’ names are brought up to BCYC’s board
    and then applicants are “voted in” at a general meeting. Id. at 63:11-14; 66:5-23; 71:19-72:1.
 35. Admission standards do not include sailing experience, home ownership, level of wealth, or
    level of education. Id. at 68:14-69:21.
 36. Mrs. Angel decides whether to bring up an applicant’s name to BCYC’s Board. Id. at 67:7-
    15. If she does “It’s fait accompli. It's already decided once [Gerri Angel] brings those people
    up.” Id. at 67:7-16. If applicants are at the board meeting will be up for vote to become a
    member. Id. at 67:12-15. Voting is by a panel at the general meeting. Id. at 71:11-18.
 37. In his sixteen (16) years with BCYC, at no general meeting BCYC’s Commodore attended
    has an applicant not been voted in, and he knows of no applicant that has not been admitted.
    Ex. 11, Southard Depo. at 72:2-10. If an applicant’s name is passed to BCYC’s board, the
    only reason an applicant wouldn’t be voted in is because he/she didn’t show up to the general
    meeting. Id. at 72:11-17. If an applicant attends the general meeting, “they’re in.” Id. at 70:8-
    15.

                                                                                          6|Page
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 7 of 25 PageID 1923




 38. At no time before Plaintiff brought this lawsuit did BCYC have a membership cap. Id. at
       72:22-73:9; 79:20-23. In 2018-2019 BCYC had about 200 members. Id. at 101:9-11.
 39. In May of 2019, after the lawsuit was initiated, BCYC proposed a new limit on membership,
       changes to the admission process, or new membership probationary period. Id. at 79:23-80:5.
 40. In 2019, annual membership was $145.00 per quarter, per household. Ex. 15, Application at
       1; Ex. 11, Southard Depo. Id. at 80:22-82:23. Members pay no renewal fees or any other fees
       of any kind. Id. at 82:12-19. Once in, members pay only quarterly dues. Id. at 82:17-19.
 41. “The Windward” is a publication by BCYC available to the general public through its
       website. Id. at 56:15-21; 85:23-88:6. At times it has members’ contact information such as a
       phone number and email address. Id. at 87:20-24.
 42. BCYC advertises events and its sailing school which are open to the general public in “The
       Gabber,” a Gulfport publication. Id. at 89:23-90, 92:14-18. BCYC also recruits new
       members through a sales leaflet brochure passed out at boat shows. Id. at 98:18-99:24.
 43. On March 29, 2019, BCYC advertised on its website that membership is “Just $1.05 per
       day.” Id. at 95:8-11.
 44. Anyone from the general public can have access to BCYC for free for 90 days without going
       through an application process or background check. Id. at 93:9-94:4; 94:13-16; 96:5-97:6.
       They can bring guests and have access to BCYC’s facilities. Id. at 93:6-13; 94:20-25. They
       only need to pay a fee for sailing instruction. Id. at 94:13-16. Sailing school lasts two weeks
       and students have unfettered access to BCYC’s facilities. Id. at 103:4-11.
 45. Non-member “Sea Scouts,” 6 who are minors that don’t drive, and their parents and
       chauffeurs, have access to BCYC’s facilities once during the week and on weekends for part
       of the year. Id. at 107:15-108:11; 109:4-9; 112:13-19. They are not accompanied by a BCYC
       member while at BCYC. Id. 109:4-112:12.
 46. BCYC holds an annual Open House to promote its activities. Id. at 92:14-21. Anyone from
       the general public can attend for free and access its facilities without being accompanied by a
       BCYC member. Id. at 92:22-93:8. BCYC holds other events which allow the public and
       nonmembers to freely access its facilities including fishing tournaments, casino nights, boat
       shows, and regattas. Exhibit 16, BCYC Calendar at 3-8, 12-29.



 6
     Sea Scouts are the sailing equivalent of “Boy Scouts.” Ex. 11, Southard Depo. at 107:15-20.
                                                                                                   7|Page
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 8 of 25 PageID 1924




 47. BCYC actively advertises, solicits, promotes itself, its sailing schools, and Open House,
    and/or “encourage[es] new membership” on Facebook, on its website, and in “The Gabber.
    Ex. 11, Southard Depo. at 88:3-89:22; 90:6-13; 92:14-21; 95:1-25; Ex. 7, Facebook Profile;
    Ex. 16, Calendar at and 2.
 48. Per its Lease with the City of Gulfport, members of the Gulfport Lions Club, Gulfport Yacht
    Club, Inc., Gulfport Youth Sailing, Inc, and the City’s invitees and those invitees’ guests
    have access “to the beach area behind Lions Club clubhouse.” Ex. 6, Lease at 4, [Item] “7.
    Beach Access.”
 49. In 2016 BCYC served as the registration site for Gulfport’s Pink Flamingo Tour of Homes, a
    public event hosted by the City of Gulfport. Ex. 16, BCYC Calendar at 6. The tour itself
    occurs off of BCYC property. Id.
 50. BCYC allows the members and guests of other clubs, such as the Florida Women’s Sailing
    Association, the Bay Sailors, and the Gulfport Historical Society, unfettered access and
    unrestricted movement in, on, and to BCYC’s property and facilities. Ex. 2, Ring Aff.;
    Exhibit 16, BCYC Calendar & Minutes Excerpts at 4. From 2009 to the present, BCYC
    hosted events and gatherings to nonmembers such as ROTC at USF, Gulfport Elementary
    School, Eckerd College, East Lake High School Drama Club. Ex. 16, Calendar at 1, 2, 3, 6,
    respectively. In February 2019, nonmember Chris Krietlein used BCYC to teach his course
    on Celestial Navigation. Ex. 5, BCYC 01.2019 Minutes at 5:10.
 51. Yearly, BCYC gives away a free membership. Ex. 11, Southard Depo. at 103:12-15. The
    winner pays no money, completes no application, undergoes no background check or identity
    verification, and has unfettered access to BCYC’s property and facilities. Id. at 103:12-104:6.
 52. BCYC members host wedding events, receptions, and parties for birthdays, Sweet 16s,
    graduations, anniversaries, retirement, promotions, baby showers, coming out, etc. at BCYC.
    Id. at 104:7-107:6. There are no caps on guests and events could have more than one hundred
    non-BCYC members, all of whom could have unfettered access to BCYC facilities. Id. at
    106:9-14; 105:10-23.
 53. BCYC has up to 11 potluck dinners a year to which members bring guests. Id. at 99:25-
    100:4. There is no limit on guests. Id. at 100:5-15. BCYC also hosts a Christmas Boat Parade
    to which members bring guests. Id. at 102:11-24. Guests are members of the public. Id. at
    102:23-24.

                                                                                        8|Page
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 9 of 25 PageID 1925




 54. No background check is done on BCYC’s members’ guests, and guests are not given any
    identification, guest passes, wrist bands, or hand stamps. Id. at 100:20-101:3. Members don’t
    really know who is a guest as opposed to a member. Id. at 101:4-8. Guests don’t pay any
    fees. Id. at 102:9-10.
 55. Members of the general public, “without knowing a soul” at BCYC, can have unfettered
    access to BCYC’s facilities. Exhibit 5, BCYC 01.2019 Minutes at 3.
 56. Nonmembers of BCYC, including both guests of member and “members of the general
    public,” have unfettered access to BCYC’s facilities. Exhibit 17, Affidavit of Charon Wood;
    Exhibit 18, Notarized Declaration of Kelli LaPuma; Exhibit 19, Notarized Declaration of
    Renee S. Best; Ex. 14, Aerial Map View Front Gate Open. Some nonmembers have visited
    more than hundred times and have not been required to show identification, asked for
    identification, asked to sign a “sign-in” sheet or Visitor’s Log, asked for a security deposit, or
    asked to justify their presence. Ex. 17, Wood Aff.; Ex. 18, LaPuma Aff., Ex. 19 Best Aff.
 57. BCYC is a place of exhibition, entertainment, public gathering, education, exercise and
    recreation, an establishment serving food and drink, and is used for public transportation. Ex.
    16, Calendar at 1-30; Ex. 7, History; Ex. 10, Mission; Ex. 5, BCYC 01.2019 Mins. at 2, 3, 5.
 58. BCYC Member Jenn Buckley is paid by BCYC to do work for it. Ex. 5, BCYC 01.2019
    Minutes at 1, 4, 5, 10, 11; Exhibit 20, J Buckley 2018 Business Record; Exhibit 21, J
    Buckley 2019 Business Record. BCYC employs and pays a bookkeeper to replace the role of
    its Assistant Treasurer. Ex. 5, BCYC 01.2019 Minutes at 5:7. BCYC receives income from
    members and nonmembers through activities, merchandise sales, dry slip rentals, dinghy rack
    rentals, sail schools (adult and youth), design regattas, The Windword, and races. Id. at 7.
 59. Plaintiff joined BCYC in 2007. Dkt. 100, Third Amended Complaint at 2, ¶ 6. At that time,
    no member obtained “any vested right, interest or privilege of, in or to the asset or franchise
    of Club, nor any right, interest, or privileges which may be transferable, assignable, or
    inheritable, or which shall continue after he or she ceases to be a member.” Exhibit 22, 2007
    BCYC By-Laws Excerpt. That has not changed. Exhibit 23, July 2018 BCYC By-Laws
    Excerpt.
                                     II. LEGAL STANDARD
        Summary judgment is appropriate when the movant shows there is no genuine issue of

 material fact and entitlement to judgment as a matter of law. Fed. R. Civ. P. (56)(a); Anderson v.

                                                                                           9|Page
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 10 of 25 PageID 1926




  Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986); Fennell v. Gilstrap, 559 F.3d 1212, 1216 (11th

  Cir. 2009). An issue is genuine if the evidence is such that a reasonable jury could return a

  verdict for the non-moving party. Mize v. Jefferson City Bd. of Educ., 93 F.3d 739, 742 (11th Cir.

  1996) (citing Hairston v. Gainesville Sun Publ'g Co., 9 F.3d 913, 918 (11th Cir. 1993)). A fact is

  material if it may affect the outcome of the suit under the governing law. Allen v. Tyson Foods,

  Inc., 121 F.3d 642, 646 (11th Cir. 1997). Which facts are material depends on the substantive

  law applicable to the case. Anderson, 477 U.S. at 248.

          The moving party bears the burden of showing that no genuine issue of material fact

  exists. Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991). That burden is

  discharged by showing or pointing out to the Court that there is an absence of evidence to

  support the non-moving party's case. Denney v. City of Albany, 247 F.3d 1172, 1181 (11th Cir.

  2001) (citation omitted). If the non-movant’s response consists of nothing “more than a

  repetition of his conclusional allegations,” summary judgment is not only proper, but required.

  Morris v. Ross, 663 F.2d 1032, 1034 (11th Cir. 1981).

                                             III. ANALYSIS

  A. PIPER HAS BEEN INDIVIDUALLY TRAINED TO PERFORM DISABILITY-
     RELATED TASKS TO ASSIST PLAINTIFF, A PERSON WITH A DISABILITY,
     AND IS THEREFORE A SERVICE ANIMAL.

          For ADA purposes, a service animal is “any guide dog, signal dog, or other animal

  individually trained to do work or perform tasks for the benefit of an individual with a

  disability…” 28 C.F.R. § 36.104. 7 BCYC cannot refute that Piper has been trained to retrieve

  Plaintiff’s emergency medical pack, to find the pack if it is lost or misplaced, or to find help if



  7
   Alerting individuals to the presence of allergens and retrieving items such as medicine are two examples
  of disability-related tasks. 28 C.F.R. § 36.104.


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Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 11 of 25 PageID 1927




  Plaintiff is incapacitated by an allergic reaction. Exh. 2, Ring Aff. at ¶12; Exh. 4, Trainer Aff. at

  ¶8. BCYC cannot refute that Piper is being trained, and successfully so, to detected sunflower

  seeds. Exh. 4, Trainer Aff. at ¶14. Even if Piper were not already performing disability-related

  tasks, under Florida law, Piper would be allowed to accompany Ring in all places of public

  accommodation. Fla. Stat. § 413.08(8)(2019)(“Any trainer of a service animal, while engaged in

  the training of such an animal, has the same rights and privileges with respect to access to public

  facilities and the same liability for damage as is provided for those persons described in

  subsection (3) accompanied by service animals.”).

         Even though Piper is being trained to detect sunflower seeds under the guidance of a

  professional service dog trainer that specializes in teaching scent detection, the ADA has no

  requirement that a service dog be professionally trained. Plaintiff herself trained Piper to retrieve

  her emergency medical pack and to locate the pack when it is misplaced. Ex. 2, Ring Aff. at ¶¶

  10-12; Ex. 4, Trainer Scheu Aff. at ¶8. The only relevant inquiry when determining whether an

  animal is a “service animal” under the ADA is whether the animal performs tasks that help to

  ameliorate the disabled person’s disability or disabilities. Miller v. Ladd, No. CV 08-05595 NJV,

  2010 U.S. Dist. LEXIS 73050 (N.D. Cal. July 20, 2010).

         An episodic impairment such as an allergy is considered a “disability” if it substantially

  limits a major life activity “when active.” 29 C.F.R. §1630.2(j)(1)(vii). When Plaintiff suffers an

  allergic reaction, her allergy substantially limits her ability to breathe. (Ex. 2, Ring Aff. at ¶¶ 3,

  6.) Under the ADA “a major life activity also includes the operation of a major bodily function”

  such as respiration. 42 U.S.C. § 12101(2)(B). Under the ADA her allergies are disabilities.

         Plaintiff was first diagnosed with life-threatening allergies when a young child. Ex. 3,

  J.D. Wohlers Aff. Now an adult, she still has a severe allergic reaction to bee stings and



                                                                                           11 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 12 of 25 PageID 1928




  sunflower seeds causing her tongue to swell and throat to constrict, inhibiting or otherwise

  preventing her from breathing. Ex. 2, Ring Aff. at ¶¶ 3, 6. If an allergen exposure is severe

  enough, Plaintiff could die without her EpiPen. Ex. 2, Ring Aff. at ¶¶ 3, 4, 9. The danger of

  Plaintiff suffering an anaphylactic reaction is not merely hypothetical, twice in the last two and a

  half months Plaintiff has had to use her EpiPen when inadvertently and unexpectedly exposed to

  sunflower seeds. Id. at ¶6. BCYC cannot refute that Plaintiff has allergies that are life-

  threatening or that Piper’s assistance could literally save Plaintiff’s life if she were to suffer an

  allergic reaction when alone and unable to find or reach her EpiPen.

         In J.D. v. Colonial Williamsburg Found., No. 4:17cv101, 2018 U.S. Dist. LEXIS 94589

  (E.D. Va. Mar. 27, 2018), the father of an 11-year old boy (“J.D.”) with a sensitivity to gluten

  brought food that had been prepared at home for his son into a restaurant. J.D and his father were

  visiting the restaurant as part of a class trip to Colonial Willamsburg. The restaurant had a policy

  of not allowing outside food and forced father and son to eat at a picnic table behind the

  restaurant rather than letting them eat the gluten free meal brought from home inside the

  restaurant with J.D.’s classmates. In defending a suit brought under the ADA, the restaurant

  argued that J.D.’s gluten insensitivity did not substantially limit him in a major life activity

  because J.D. could avoid symptoms by avoiding gluten. In denying the restaurant’s motion for

  summary judgment on the issue of whether the child was disabled, the court stated that “[i]f a

  plaintiff experiences disabling symptoms when he suffers an allergic, or gluten-caused, reaction,

  he can be considered disabled under the ADAAA, even if such symptoms are episodic.” This

  holding was affirmed by the United States Court of Appeals for the Fourth Circuit. See J.D. v.

  Colonial Williamsburg Found., 925 F.3d 663 (4th Cir. 2019).




                                                                                           12 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 13 of 25 PageID 1929




         Congress requires a Court to construe the statutory text “broadly in favor of expansive

  coverage,” keeping in mind that the inquiry of whether an impairment substantially limits an

  individual in a major life activity “is not meant to be a demanding standard.” J.D. v. Colonial

  Williamsburg Found at 669, citing 28 C.F.R. § 36.105(d)(1)(i). While J.D. suffered “serious

  consequences” if he ingested even a small amount of gluten, the minor child’s symptoms were

  not life-threatening. In Plaintiff’s case however, the symptoms of her severe allergic reaction

  include not being able to breathe. Ex. 2, at ¶¶3, 6, 9.

         Code of Federal Regulations Section 36.105(d)(1)(ii) provides that “the threshold issue of

  whether an impairment substantially limits a major life activity should not demand extensive

  analysis.” Simply put, Plaintiff suffers an episodic condition that is not just substantially limiting

  when active, but potentially deadly. There can be no question as to whether her allergies

  constitute disabilities for purposes pf the ADA. Mazzeo v. Color Resolutions Int’l, LLC, 746

  F.3d 1264, 1269 (11th Cir. 2014) (“The ADA, therefore, now provides that the phrase

  ‘substantially limits’ “shall be interpreted consistently with the findings and purposes of the

  [ADAAA],’ id. at § 12102(4)(B), and that ‘an impairment that is episodic or in remission is a

  disability if it would substantially limit a major life activity when active’ id. at § 12102(4)(D).”).

  B. ALLOWING PLAINTIFF’S SERVICE ANIMAL TO ACCOMPANY HER IN THE
     CLUBHOUSE IS A REASONABLE MODIFICATION.

         When an entity regulated under Title III fails to accommodate a person with a disability,

  whether the entity is liable for failing to make the accommodation turns on (1) whether the

  requested accommodation to the program was reasonable; (2) whether it was necessary to assure

  meaningful access; and (3) whether it would represent 'a fundamental alteration in the nature of

  [the] program. Matheis v. CSL Plasma, Inc., 936 F.3d 171 (3d Cir. 2019) (quoting Alexander v.

  Choate, 469 U.S. 287, 105 S. Ct. 712, 83 L. Ed. 2d 661 (1985)). The plaintiff bears the initial

                                                                                            13 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 14 of 25 PageID 1930




  burden of establishing that the desired accommodation is reasonable and necessary, while the

  defendant bears the burden of showing that it would fundamentally alter the nature of the

  program. J.D. by Doherty v. Colonial Williamsburg Found., 925 F.3d 663, 671 (4th Cir. 2019).

         The use of service animals is, with few specific exceptions, always reasonable as a matter

  of law. See Berardelli v. Allied Servs. Inst. of Rehab. Med., 900 F.3d 104, 118-19 (3d Cir. 2018)

  (“[I]f the exceptions are inapplicable, a disabled individual’s proposed accommodation of the use

  of her service animal is reasonable under the ADA as a matter of law.”) The Department of

  Justice (“DOJ”) promulgated regulations regarding service animals which provide that public

  accommodations “[g]enerally…shall modify policies, practices, or procedures to permit the use

  of a service animal by an individual with a disability.” 28 C.F.R. § 36.302(c)(1). This regulation

  has been interpreted to mean that use of a service animal by a disabled individual “is reasonable

  under the ADA as a matter of law” so long as no DOJ-promulgated regulation supersedes this

  general rule. Matheis v. CSL Plasma, Inc., 936 F.3d 171, 179 (3d Cir. 2019).

         The DOJ has also specified the very limited circumstances when service animals may be

  excluded from a place of public accommodation: if granting access would “fundamentally alter”

  the nature of the program, or pose a “direct threat” to the health or safety of others, or if the

  animal is either “out of control” or “not housebroken.” Subject to these exceptions, however, the

  regulations mandate that “[i]ndividuals with disabilities shall be permitted to be accompanied by

  their service animals in all areas of [a covered actor’s facilities] where…program participants…

  are allowed to go.” Berardelli at 120. (internal citations omitted). See also Matheis v. CSL

  Plasma, Inc. at 179. (“The service-animal regulations satisfy [Plaintiff’s] initial burden to show

  an accommodation is reasonable; [Defendant] must establish that an exception to those

  regulations applies.”)



                                                                                        14 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 15 of 25 PageID 1931




         Plaintiff has demonstrated that she needs her service animal to fully enjoy the amenities

  offered by BCYC, particularly the clubhouse, which has unscreened windows that are frequently

  opened and where she has not infrequently found herself completely alone. Ex. 2, Ring Aff. at ¶

  18. The use of a service animal in a place of public accommodation is reasonable as a matter of

  law. Allowing Piper in the BCYC clubhouse would not fundamentally alter the nature of the

  services provided by BCY. BCYC could still operate as a sailing and social club notwithstanding

  a service animal’s occasional presence. See Sabal Palm Condos. of Pine Island Ridge Ass'n v.

  Fischer, 6 F. Supp. 3d 1272, 1281 (S.D. Fla. 2014) (“Sabal Palm is a condominium association.

  Its raison d'être is to provide housing. Allowing a disabled resident to keep a service dog would

  not fundamentally alter Sabal Palm because Sabal Palm would still be able to offer housing.)

         BCYC has illegally discriminated against the Plaintiff by failing to modify its rule that

  dogs are not allowed in the clubhouse.

  C. BCYC IS A PLACE OF A PUBLIC ACCOMMODATION.

         1. BCYC BEARS THE BURDEN OF PROVING IT IS A PRIVATE CLUB.

         Part III of the ADA forbids discrimination “on the basis of disability in the full and equal

  enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any

  place of public accommodation by any person who owns, leases (or leases to), or operates a

  place of public accommodation.’ 42 U. S. C. § 12182(a). Because of the importance of federal

  discrimination laws, courts have narrowly construed exemptions under the ADA and place the

  burden upon the party claiming the exemption. Quijano v. Univ. Fed. Credit Union, 617 F.2d

  129, 131-32 (5th Cir. 1980); Nesmith v. YMCA, 397 F.2d 96, 101 (4th Cir. 1968) (“The burden of

  proof rest[s] upon the [defendant] to substantiate its claim to private club status....”); Bommarito

  v. Grosse Pointe Yacht Club, 2007 WL 925791 at *4 (E.D. Mich. Mar. 26, 2007) (“Because of


                                                                                          15 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 16 of 25 PageID 1932




  the importance of federal discrimination laws, courts ... place the burden upon the party claiming

  the exemption"). 8

         2.      BCYC FALLS WITHIN SEVERAL OF THE SPECIFICALLY-
                 ENUMERATED PLACES OF PUBLIC ACCOMMODATION AS
                 DEFINED BY THE ADA.

         A “place of public accommodation” is a facility whose operations affect commerce and

  falls within one of the twelve broad categories of facilities listed in the statute. See 42 U.S.C. §

  12181(7). These categories include such facilities as places of “exhibition or entertainment,”

  “lecture hall or other place of public gathering,” “a place of education,” establishments serving

  food or drink, and places of “exercise or recreation” any one of which applies to BCYC. Section

  301 of Title III, 42 U.S.C. § 12181(7)(B), (C),(D),(J), and/or (L); and see generally 28 C.F.R. Pt.

  36, App. B at 622-23.

         BCYC, a self-designated social and sailing group, falls squarely within the umbrage of

  Title III’s statutory definition of public accommodation. 42 U.S.C. § 12181(7(7)(B), (C),(D),(J),

  and (L). BCYC proudly boasts of its alcoholic-squatting roots of deceptions that led to it

  “eventually wangl[ing] a lease out of the city” of St. Petersburg, before relocating to the City of

  Gulfport. Id. While its publicly-claimed “Mission” in the year 2019 has been somewhat

  sanitized, i.e., “to promote safe boating activities in Pinellas County and waters adjacent thereto;

  to promote instruction and education in safe boating and all nautical activities; to foster

  fellowship and camaraderie among the members; and to be an integral part of the Community of

  Gulfport,” BCYC’s cleaned-up goals place it even further among possible ADA enumerations of
  8
    Whether BCYC is a “private club” meriting exemption from the ADA, ADA regulations, and
  its prescripts is only achieved by BCYC’s successfully pleading same as an affirmative defense.
  Plaintiff contends, for the reasons identified in her Motion to Strike Some of Defendant’s
  Affirmative Defenses and Memorandum of Law in Support [Dkt. 114] (“Motion to Strike”)
  which she expressly incorporates herein, that BCYC has not properly pled such as an affirmative
  defense and is therefore precluded from asserting it.


                                                                                          16 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 17 of 25 PageID 1933




  places of public accommodation. 42 U.S.C. § 12181(7)(B), (C),(D),(J), and/or (L); Ex. 7, BCYC

  Facebook Profile; Ex. 8, Cert. of Re-Inc.

         BCYC receives income from members and nonmembers through its activities,

  merchandise sales, dry slip rentals, dinghy rack rentals, sail schools (adult and youth), design

  regattas, The Windword, and races. Ex. 5, BCYC 01.2019 Minutes at 7. It holds an Open House

  to promote its activities. Ex. 11, Southard Depo. at 92:14-21. Food and beverages and

  promotional activities are the essence of this four-hour annual event. BCYC holds recreation and

  exercise events regularly including fishing tournaments, casino nights, boat shows, boat races,

  and regattas. Exhibit 16, BCYC Calendar at 3-8, 12-29.

         BCYC is also a place of education. It regularly conducts sailing schools and programs for

  Sea Scouts which it actively advertises, solicits, promotes on Facebook, on its website, and in the

  community publication The Gabber. Ex. 11, Southard Depo. at 88:3-89:22; 90:6-13; 92:14-21;

  95:1-25; Ex. 7, Facebook Profile; Ex. 16, Calendar at and 2.

         Per its Lease with the City of Gulfport, members of the Gulfport Lions Club, Gulfport

  Yacht Club, Inc., Gulfport Youth Sailing, Inc, and the City’s invitees and those invitees’ guests

  have access to its premises. Ex. 6, Lease at 4, [Item] “7. Beach Access.” In 2016 BCYC served

  as the registration site for Gulfport’s Pink Flamingo Tour of Homes, a public event hosted by the

  City of Gulfport. Ex. 16, BCYC Calendar at 6. All of these events are or incite public gatherings.

         BCYC has even hosted events and gatherings for the ROTC at USF, Gulfport Elementary

  School, Eckerd College, East Lake High School Drama Club. Ex. 16, Calendar at 1, 2, 3, 6,

  respectively. In February 2019, a nonmember Chris Krietlein used BCYC to teach his course on

  Celestial Navigation. Ex. 5, BCYC 01.2019 Minutes at 5:10. All of these which put BCYC under

  the umbrellas of public accommodation.



                                                                                         17 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 18 of 25 PageID 1934




  D. BCYC HAS NO SELECTIVITY, ITS ADMISSION PROCESS IS A FARCE, ITS
     HISTORY AND PURPOSE ARE CANNOT CARRY THE BURDEN OF PROVING
     THAT IT FALLS WITHIN THE PRIVATE CLUB EXEMPTION AS ALL FACTORS
     WEIGH HEAVILY IN FAVOR OF A PUBLIC ACCOMMODATION FINDING.

         Again, it is BCYC, not Plaintiff, who bears the burden of proving its status (of private club

  vs. public accommodation). Nesmith v. YMCA, 397 F.2d 96, 101 (4th Cir. 1968); Bommarito v.

  Grosse Pointe Yacht Club, 2007 WL 925791 at *4 (E.D. Mich. Mar. 26, 2007).

         While the Eleventh Circuit has not yet addressed the issue of what a party who does not fall

  within the named list of public accommodation entities must establish to attain the freedom to

  discriminate with impunity and escape the ADA, it has demonstrated an expansive approach as

  described by the U.S. Supreme Court. See Rendon v. Valleycrest Prods Ltd., 294 F.3d 1279 (11th

  Cir. 2002)(contestant hotline, which was an automated fast finger telephone selection process for a

  television quiz show, was a place of public accommodation).

         And, “although…the relevant statutes do not specifically define what a ‘private club’ is, the

  cases interpreting the term have identified some key (often overlapping) characteristics.” Kalani v.

  Castle Village LLC, 14 F. Supp. 3d 1359, 1372 (E.D. Cal. 2014). United States v. Lansdowne Swim

  Club, 713 F.Supp. 785 (E.D.Pa.1989), aff'd, 894 F.2d 83 (3rd Cir.1990), has been described as

  “exhaustively and persuasively analyzing the ‘private club’ exemption and setting out key

  characteristics” and its eight factors of consideration have been looked to by other District Courts as

  instructive: 1) the genuine selectivity of the group in the admission of its members; 2) the

  membership’s control over the operations of the establishment; 3) the history of the organization; 4)

  the use of the facility by nonmembers; 5) the purpose of the club’s existence; 6) whether the club

  advertises for members; 7) whether the club is for profit or nonprofit; and 8) the formalities observed

  by the club, such as bylaws, meeting, membership cards, etc. U.S. by Kalani at 1372; United States v.

  Lansdowne Swim Club, 713 F. Supp. 785 (E.D. Pa. 1989).

     1. BCYC’s application process is not genuinely selective.


                                                                                            18 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 19 of 25 PageID 1935



          Because “genuine selectivity is an integral characteristic of a private club,” courts have found
  this factor to be “the most important ... in ascertaining private club status.” Lansdowne, 713 F.Supp.
  at 797 (internal citations omitted); accord EEOC v. Chicago Club, 86 F.3d 1423, 1436 (7th Cir.
  1996) ("[S]elective membership practices are the essence of private clubs"); Reimer v. Kuki'o Golf
  and Beach Club, Inc., 2013 WL 1501522 at *2 (D. Haw. Apr. 11, 2013) (“whether a facility is
  genuinely `private,’ and therefore exempt [from the ADA]," is "the selectivity of the group in
  admitting members").
          According to the Eastern District Court, a variety of characteristics may reflect genuine
  selectivity, including: formality of admission procedures; standards or criteria for admission; the
  membership's control over the selection of new members; the numerical limit on club membership;
  the substantiality of the membership fee; and the extent to which applicants have been denied
  admission. Lansdowne, 713 F .Supp. at 797-98. In the case at bar, everyone of these variables
  defrocks the Defendant’s “private club” cloak.
          a. there are no standards or criteria for admission into BCYC
          There is no selectivity for BCYC’s membership. To apply, one only need fill out an
  application (or have someone else fill it out for them). Ex. 11, Southard Depo. at 57:10-60-3. As
  conceded by BCYC’s President/Commodore, an applicant doesn’t need to know how to read, write,
  own a boat, how to sail or operate a boat, know nautical terms or even what a “Commodore” is
  before applying for membership. Id. Applicants don’t need a sponsor, nor do they even need a
  reference. Id. at 70:17-22. Other than being over age 21, there is no particular criterion or standard an
  applicant must meet before applying. Id. at 58:11-21.
          BCYC’s Membership Application is accessible and available to anyone with internet access.
  Ex. 15, Membership Application. Given that public libraries provide internet access to all members
  of the public and smart phones with internet access are ubiquitous, applying for BCYC membership
  is literally an option for anyone in the world. This complete absence of control over who even applies
  for BCYC membership, weighs heavily in favor of a BCYC’s public accommodation status. EEOC v.
  Chicago Club, 86 F.3d 1423, 1436 (7th Cir. 1996) (finding social club’s membership process
  selective, partly because club controls which individuals are extended invitations to membership);
  Reimer v. Kuki'o Golf and Beach Club, Inc., 2013 WL 1501522 at *3 (D. Haw. Apr. 11, 2013)
  (finding golf and beach club's membership process selective, partly because "membership is by
  invitation only").
          With the exception of one question, the Membership “Application” itself requires only
  biographical information, i.e., name, address, date of birth, phone numbers, email, gender, spousal
                                                                                              19 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 20 of 25 PageID 1936



  information, employer, emergency medical contact designee, and boat information (“if you own a
  boat”). Ex. 15, Membership Application. The only question of any arguable discerning nature is
  whether an applicant has been convicted or pled nolo contender “to a felony” (applicants’
  misdemeanor convictions are of no interest to BCYC), which an applicant is given an opportunity to
  explain away. Id. A criminal background check may not even be done (Ex. 11, Southard Depo. at
  9:21-10:5; 37:13-38:21; 61:23-6:6), which means dishonest felons still have a shot of becoming a
  BCYC member.
         The cost for applying and for membership in BCYC is insubstantial. See id. at 65:2-21., Its
  “application process” is informal and non-selective. After submitting an applicatoin and payment, an
  applicant gets a call from BCYC Member, Gerri Angel, who asks “why” the applicant wants to join
  and other “general vetting questions,” without the benefit or a script or instructions, but based solely
  upon her “experience” and personal preferences. Ex. 11, Southard Depo. at 60:4-61:25. While on
  paper BCYC reports a “Membership Committee” comprised of a few BCYC members, the reality is
  that such “Committee” is a one-woman show, as only Ms. Angel makes the phone call, the main
  purpose of which is to ask the applicant to come in so that an applicant’s questions about BCYC can
  be answered. Id. at 60:4-64:23. If she decides that an applicant is “okay,” a “background check” may
  ensue, the content of which BCYC’s President/Commodore isn’t sure of, nor whether one is actually
  even done. Id. And while applicants’ names are forwarded by Mrs. Angel to the BCYC’s Board of
  Directors, the truth is, in the BCYC’s President/Commodore’s own words, once Gerri Angel passes
  up an applicant’s name: “It’s fait accompli. It's already decided once she brings those people up.” Id.
  at 67:7-11.
          BCYC’s membership standards do not include evaluation of substantive demarcations such
  as sailing or boating experience, home ownership, level of wealth, or level of education. Ex. 11,
  Southard Depo. at 68:9-69:7. In contrast, true private clubs exhibit a “plan or purpose of
  exclusiveness.” See Sullivan v. Little Hunting Park, Inc., 396 U.S. 229, 236, 90 S.Ct. 400, 24
  L.Ed.2d 386 (1969) (“The Virginia trial court rested on its conclusion that Little Hunting Park was a
  private social club. But we find nothing of the kind on this record. There was no plan or purpose of
  exclusiveness. It is open to every white person within the geographic area, there being no selective
  element other than race.”); Tillman v. Wheaton-Haven Recreation Ass'n, Inc., 410 U.S. 431, 438, 93
  S.Ct. 1090, 35 L.Ed.2d 403 (1973) ("[t]he only restrictions are the stated maximum number of
  memberships and ... the requirement of formal board or membership approval"). In Sullivan, every
  person who was a resident of the relevant area and purchased a membership, was welcome as a
  member, so long as that person was white.
                                                                                             20 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 21 of 25 PageID 1937



          Ironically, while BCYC’s roots were founded in a similar selectivity of being open “to any
  white person of good character” any such selectivity has been amended, modified, redacted, and
  otherwise dissolved as the only requirement for applying to BCYC is to be of drinking age. Ex. 9,
  BCYC Art. of Inc.; Ex. 11, Southard Depo. at 58:11-21. BCYC exhibits no plan or purpose of
  exclusivity and exhibits even less than was shown in Sullivan and Tillman.
      b. BCYC’s admission procedure is informal and non-substantive

          At BCYC’s general monthly meetings, applications for membership are theoretically voted
  on. Ex. 11, Southard Depo. at 70:8-17. In his sixteen (16) years of affiliation with BCYC, its
  Commodore is not aware of even one time that someone who applied for membership in BCYC was
  not voted in. Id. at 72:2-17.
          While BCYC members vote to admit new members, the vote is perfunctory. If an applicant
  gets “the Angel call” and “shows up” at BCYC, he or she is automatically voted in. Id.       In
  other words, despite 176 meetings which included new member applications voting, not a single
  person was ever denied membership. Id.
          c. there are no numerical limits on BCYC membership
          The existence of caps on club membership often weighs in favor of a finding of selectivity,
  and thus private club status. As to BCYC, the scales tip diametrically opposite; prior to 2018, BCYC
  had no cap whatsoever on membership. Ex. 11, Southard Depo. 72:22-73:1. Any caps on
  membership contemplated by BCYC came only after Plaintiff filed her complaint with the Pinellas
  County Office of Human Rights and the within lawsuit. Id. at 77:19-22.

          d.      both the admission and the membership fees into BCYC are
                  insubstantial

          In Lobel v Woodland Golf Club of Auburndale, 260 F.Supp. 127 (U.S. D. Ct. D. Mass. 2017),
  fees deemed “substantial” for membership in a golf club weighing in favor of a selectivity finding
  was a nonrefundable $55,000 initiation fee, after which a family of four paid approximately $14,000
  per year in dues, assessment, and food minimums.
          In sharp contrast, the fees that gain an applicant the right to call him/herself a BCYC
  “member” are, by BCYC’s own Commodore’s estimation and as advertised on its website, a
  “bargain” at “Just $1.05 per day.” Ex. 11, Southard Depo. at 95:8-11. While membership fees in the
  nearby St. Pete Yacht Club are $2,400.00 per year, BCYC’s membership fees are only $435.00 per
  family per year. Id. at 91:4-92:13.


                                                                                           21 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 22 of 25 PageID 1938




              2. BCYC’s members’ absence of any vested interest or ownership stake
                 exemplifies the absence of a members’ control over BCYC’s operations
                 and thus the absence of private club status.

         BCYC members have no vested right, interest, or privilege in BCYC, thus no stake in
  BCYC’s property, which actually belongs to the citizens of Gulfport. This exemplifies their lack of
  control and BCYC’s absence of private-club status. See Pappion v. R-Ranch Property Owners Ass'n,
  110 F.Supp.3d 1017, 1019 (E.D. Cal. 2015); U.S. by Katzenbach v. Jordan, 302 F. Supp. 370, 376
  (E.D. La. 1969); Reimer, 2013 WL 1501522 at *3.
         3.       BCYC’s rum-running, dock-squatting, lease-wangling history and current
                 existence do not engender private club protection.

         BCYC proudly boasts in social media of its 1940s roots of deceiving local government to
  manipulate prime real estate for a dock perch for drinking “activities.” Ex. 7, Facebook; Ex. 10,
  Mission Statement. As of 2019, not all that much has changed. BCYC’s Commodore acknowledges
  that BCYC is a very social, rum-loving, alcohol-loving group of people. Ex. 11, Southard Depo. at
  97:7-98-3. Not only does BCYC exist courtesy of its one-dollar-a-year “sweetheart” deal with the
  City of Gulfport for prime waterfront real estate including a clubhouse, dock, a parking lot, and wet
  and dry boat slips from which to perpetuate its “rhumb-running” activities, but it profits from that
  deal as well. Ex. 6, Lease at 1: 1.; Ex. 5, BCYC 01.2019 Minutes at 7-9. Neither its history, “rum-
  loving” roots, nor current existence of “throwing a party or two, or 10” merit a finding of “private
  club” exemption. Ex. 11, Southard Depo at 97:7-98:3; Ex. 7, Facebook. BCYC exhibits no plan or
  purpose of exclusivity, exposing its “private club” claim for the discrimination shield it is. See
  Kalani v Castle Village, LLC, 14 F.Supp.3d 1359, 1372 (E.D. Cal. 2014); citing Sullivan v. Little
  Hunting Park, Inc., 396 U.S. 229, 236, 90 S.Ct. 400, 24 L.Ed.2d 386 (1969).
         4.        Non-members, including both guests of members and “members of the
         general public,” have frequent unfettered use and access to BCYC’s
         facilities.
         The extent to which BCYC limits its facilities to members and their guests and/or exercises

  control over non-members access are all factor to be considered. See Jankey v. Twentieth Century

  Fox Film Corp, 14 F.Supp.2d 1174, 1178 (C.D. Cal. 1998)(citing Kelsey v. Univ. Club, 845 F.Supp.

  1526, 1529 (M.D.Fla.1994)). BCYC’s non-members encompass (1) guests of members, (2) members

  of the general public, and (3) hidden members of the general public (i.e., other clubs, guests of the

  City of Gulfport, sailing school students, Sea Scouts students and their parents and other chauffeurs,


                                                                                           22 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 23 of 25 PageID 1939



  etc.) and are also factors which expose BCYC’s claim of entitlement to private club exemption as

  unmeritorious.

          Nonmembers of BCYC, including both guests of member and “members of the general

  public,” have unfettered access to BCYC’s facilities. Ex. 17, CW Aff.; Ex. 18, KL Aff.; Ex. 19, RB

  Aff. Despite more than hundred visits to BCYC, nonmembers have not been asked for identification,

  been required to show identification, been asked to sign anything such as a “sign-in” sheet or

  Visitor’s Log, been asked to leave a security deposit, or even been asked to justify their presence. Id.

  During events deemed “open to the public” by BCYC, there are no restrictions on access. Ex. 11,

  Southard Depo. at 93:4-6.

       While courts have held that a “limited guest policy” does not strip Defendants of an ADA

  exemption as a private establishment, guest policies and general public policies in which guests are

  permitted “unfettered use of facilities” do. See Bennett v. Tupelo Country Club, 2006 U.S. Dist.

  LEXIS 1624, at *6, 2006 WL 37310, at *2-3 (N.D.Miss. Jan. 5, 2006) (finding that the Tupelo

  Country Club was not private because they allowed non-members to use the Club in a similar

  capacity to members); EEOC v. University Club of Chicago, 763 F. Supp. 985, 987–88

  (N.D.Ill.1991) (holding the University Club of Chicago was not private because non-members were

  allowed essentially the same privileges as members regardless of whether or not the guest is

  accompanied by a member); Wright vs. Cork Club, 315 F. Supp. 1143 at 1154 (S.D. Tex. 1970)

  (finding a social club where the “facilities are regularly used by nonmembers who are not bona fide

  guests” is not a private club).

      Unlike the Defendant in Kelsey v. University Club of Orlando, Inc., 845 F. Supp. 1526 (M.D.

  Fla. 1994), BCYC’s members are not required to accompany their guests when guests use BCYC

  facilities, nor is there any control on who, how many, or how often a BCYC member can bring

  guests. Ex. 11, Southard Depo. at 100:17-101:11. Regular use by nonmembers contradicts private

  status. See generally Jankey, 14 F.Supp.2d at 1178.
                                                                                             23 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 24 of 25 PageID 1940



             Moreover, as advertised on BCYC’s website, anyone who attends a sailing program at BCYC

  is automatically given, a three-month membership in BCYC for free. Such individuals are

  automatically allowed three months of unfettered, unrestricted, unsupervised months of access to

  BCYC’s facilities without any application, vetting, BCYC membership fee payment 9, or background

  check. Ex. 11, Southard Depo. at 93:9-95:25.

             The same situation applies to “Sea Scouts,” the sailing equivalent of “Boy Scouts.” Sea

  Scouts, typically minors who don’t drive, and their parents or others who chauffeur them, have

  unfettered access to BCYC’s facilities for at least two weeks, and maybe more, several times

  throughout the year. Id. None have been vetted, paid a membership fee, undergone a background

  check of any type, or submitted an application. Id. In addition to the “hidden public” of sailing school

  attendees and enveloping Sea Scouts, the lease with the City of Gulfport dictates that BCYC “shall

  allow members of the Gulfport Lions Club, Gulfport Yacht Club, Inc., Gulfport Youth Sailing, Inc,”

  and the City’s invitees and those invitees’ guests unfettered access “to the beach area behind Lions

  Club clubhouse.”

             Several times throughout a calendar year, BCYC allows the members and guests of other

  clubs, such as the Florida Women’s Sailing Association, the Bay Sailors, and the Gulfport Historical

  Society, unfettered access and unrestricted movement in, on, and to BCYC’s property and facilities.

             Finally, there are the guests and their invitees of those BCYC members having and hosting

  events such as weddings, receptions, birthday parties, graduations, retirement, etc. at BCYC. There

  are no caps on the number of guests a member can invite at any time or any one time, and literally

  hundreds of “unvetted,” non-fee paying, no background, criminal, or identification check individuals

  have unfettered access and unrestricted movement in, on, and to BCYC’s property and facilities. This

  does not substantiate private club exemption status. See Lobel v Woodland Golf Club of Auburndale,

  260 F.Supp.3d 127 (D. Mass. 2017).
  9
      Individuals just pay for sailing lessons. Id.
                                                                                             24 | P a g e
Case 8:19-cv-00772-VMC-JSS Document 128 Filed 01/24/20 Page 25 of 25 PageID 1941



          BCYC does not require members to pay a guest fee, cover any charges incurred by the guest,
  or accompany the guest during his or her time at BCYC’s facilities. The absence of anyone of these
  things is indicative of public accommodation status.
          5.      BCYC heavily advertises and markets on social media.
          Establishments that advertise and solicit members do not fall within the private club
  exemption. See Lobel v Woodlawn Golf Club of Auburndale, 260 F.Supp.3d 127 (D. Mass. 2017). In
  particular, any advertising designed to increase patronage of the club and the use of their facilities
  cuts against private club status. Id. When considering this factor, then, the critical question is whether
  and, if so, to what extent and in what manner BCYC publicly advertises to solicit members or to
  promote the use of the facilities or services by the general public.
          BCYC actively advertises, solicits, and/or “encourages membership” on Facebook, on its

  website, and in “the Gabber” a local publication, in its quest to actively for new members.

          Saying that BCYC is a “private club” is akin to saying The Emperor’s New Clothes fit him
  well.
                                           III. CONCLUSION
          WHEREFORE, Plaintiff respectfully requests that the Court enter summary judgment in
  her favor on all counts and find that she substantially prevailed, and all further appropriate relief.
          Respectfully submitted,
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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on 24th day of January, 2020 a true and correct copy of the
  foregoing has been furnished via CM/ECF electronic mail service to the Clerk of the Court. I also
  certify that the foregoing document is being served this day on all counsel of record via transmission
  of Notices of Electronic Filing generated by CM/ECF.
                                                                BY: s/Denese Venza
                                                                Counsel for Plaintiff

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